UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

EDWARD A. CANIGLIA,
Plaintiff,

Vv.

)
)
)
)
)
ROBERT F. STROM as the Finance Director )
of THE CITY OF CRANSTON, THE CITY )
OF CRANSTON, COL. MICHAKL J. )
WINQUIST in his individual capacity and)
in his official capacity as Chief of the )
CRANSTON POLICE DEPARTMENT, )
CAPT. RUSSELL HENRY, JR., in his )
individual capacity and in his official )
capacity as an officer of the CRANSTON )
POLICE DEPARTMENT, MAJOR ROBERT )
QUIRK, in his individual capacity and in his )
official capacity as an officer of the )
CRANSTON POLICE DEPARTMENT, SGT. )
BRANDON BARTH, in his individual )
capacity and in his official capacity as an )
officer of the CRANSTON POLICE )
DEPARTMENT, OFFICER JOHN )
MASTRATI in his individual capacity and in )
his official capacity as an officer of the )
CRANSTON POLICE DEPARTMENT, )
OFFICER WAYNE RUSSELL in his )
individual capacity and as an officer of the )
CRANSTON POLICE DEPARTMENT, )
OFFICER AUSTIN SMITH in his individual )
capacity and in his official capacity as an )
officer of the CRANSTON POLICE )
DEPARTMENT, and JOHN and JANE )
DOES NOS 1-10, in their individual )
capacities and in their official capacities as )
officers of the CRANSTON POLICE )
DEPARTMENT, )
Defendants. )

)

 

C. A. No. 15-525-JJM-LDA

 
MEMORANDUM AND ORDER
JOHN J, MCCONNELL, JR., United States District Judge.

This case brings to the forefront the constitutionality of police conduct when
officers are not acting in their law enforcement or investigatory capacity, but aiding
individuals out in the community. Edward Caniglia’s wife called Cranston police for
assistance when she became concerned for her husband’s health and safety. Police
arrived at the Caniglia’s home, spoke to both Mr. and Mrs. Caniglia, and ultimately
decided to send My. Caniglia in a Cranston rescue for a well-being check at Kent
Hospital and to remove from the home the guns that he legally possessed.

Mr. Caniglia filed this lawsuit and both he and the City have filed cross-
motions for summary judgment. The City moves (ECF No. 45) on these counts: Count
I — Rhode Island Firearms Act; Count I — Second Amendment/Article I, § 2 of the
Rhode Island Constitution; Count IIT — Fourth Amendment/Article 1, § 6 of the Rhode
Island Constitution’ Count V — Equal Protection: Count VI — Rhode Island Mental
Health Law; and Count VII ~ Conversion, and claims for Declaratory and Inyunctive
Relief. Mr. Caniglia has cross-moved (ECF No. 43) on Counts IIT, VI, and VIT and
also on Count IV — Due Process, and the City’s immunity and community caretaking

function defenses.

 
I, FACTS

On August 20, 2015, Mr. Caniglia and his wife had an argument in their home
in Cranston, Rhode Island. ECF No. 55 at | 1. Mrs. Caniglia asked her husband
what was wrong, and he responded by going into their bedroom and returning with a
gun; he threw it on the table and said, “why don’t you just shoot me and get me out
of my misery.” /d. at { 3. Mrs. Caniglia was shocked by her husband’s behavior and
threatened to call 911. Jd at {{] 5-6. Mr. Caniglia left the home. id, at {| 7.
Mrs. Caniglia did not call 911. id.

Mrs. Caniglia hid the gun between the mattress and box spring in their
bedroom. Jd. at | 8. She then realized that the gun had not been loaded because she
saw the magazine under the mattress. Td. at § 9. She moved the magazine to a
drawer. Jd. She hid the gun and magazine because she was worried about her
husband’s state of mind. /d at 711. W hen Mr. Caniglia returned to their home, the
couple continued to fight, and Mys. Caniglia left to spend the night at a hotel. Jd. at
| 14.

The next morning, Mrs. Caniglia tried to yeach Mr, Caniglia by phone, but he
did not answer. ECF No. 59 at § 62. She became worried; she was afraid that he
would do something with the gun. Td. at § 63. She called Cranston police and asked

them to make a well call.! ECF No. 56 at 16. She also asked for an escort back to

 

1 Mrs. Caniglia testified that the police officers’ actions were not what she
expected. She wanted an escort home and she and the police would knock on the door
and when her husband answered she would know he was okay, and “that we would
talk, and if things were fine, the officer would leave.” ECF No. 59 at { 142,

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her home to check on Mr. Caniglia. ECF No. 59 at {J 63-64. Officers John Mastrati,
and Austin Smith, and Sargent Brandon Barth arrived at the hotel to speak with
Mrs. Caniglia. ECF No. 55 at {{ 19. She told them about the gun and what she did
with it and the magazine and about what Mr. Caniglia said during their argument.
Td. at § 20. She told them that she was concerned about her husband's safety and
about what she would find when she got home; she was worried about him committing
suicide. /d. at {{ 22.

Officer Mastrati called Mr. Caniglia and asked to speak with him at his home.
ECF No. 59 at 9 66. He told Mrs. Caniglia that her husband sounded fine, but
instructed her to follow them to the home, and to stay in the car. /d. at 67. The
officers spoke with Mr. Caniglia on his back porch. Jd. at {| 69. Mr. Caniglia told
Officer Mastrati that he brought the gun out during an argument with his wife, that
he was sick of arguing with her, and that he told his wife “just shoot me” because he
“couldn't take it anymore.” ECF No. 55 at {|| 26, 29. He was calm for the most part
and told Officer Mastrati that he would never commit suicide. ECF No. 59 at 41 70-
71. He seemed normal during that encounter. Td. at { 80. When officers asked about
his mental health, he told them 1t was none of their business. /d. at { 82.

Mrs. Caniglia arrived at the house and the officers told her she could come in.
ECF No. 55 at 31. Myr. Caniglia asked her why she called the police and she told
him that she was worried about him. Td. at {| 33. Based on his conversations with
Mrs. Caniglia, Officer Mastrati was concerned about Mr. Caniglia’s suicidal thoughts

and that he was a danger to himself. 7d at §{j 36°37. Sargent Barth, who was in

 
charge at the scene, also considered Mr. Caniglia’s statement that his wife should
shoot him as a suicidal statement. Jd. at { 38.

A rescue from Cranston Fire Department responded to the scene. Richard
Greene, a rescue lieutenant, remembers little about the call but that police told him
that they recovered a gun from the scene and that Mr. Caniglia asked his wife to
shoot him. ECF No. 59 at {{ 103. Officer Greene told Mr. Caniglia that he was taking
him to Kent Hospital, and he went. /d. at {4 105-106. Mr. Caniglia disputes the
officers’ characterization that he went voluntarily because he says he only went so
that the officers would not take his guns, but there is no evidence that Mr. Caniglia’s
submission to Cranston rescue was involuntary. ECF No. 65 at { 70. A physician
and a nurse examined him, and he was evaluated by a social worker. BCF No. 59 at
{ 121. The hospital discharged him the same day. /d.

Sargent Barth made the decision to seize Mr. Caniglia’s guns,? which Captain
Henry approved based on the assertion from the officers at the scene who felt it was
reasonable to do so based on Mr. Caniglia’s state of mind. ECF No. 55 at { 41; ECF
No. 59 at { 87. Captain Henry was concerned that if the guns remained in the home,
Mr. Caniglia and others could be in danger. ECF No, 55 at {| 42. After Mr. Canighia
left the home, Mrs. Caniglia showed the police where the guns and magazines were

kept in the bedroom and garage and the officers removed them from the premises.

 

2 There is a dispute over what the police said to Mr. and Mrs. Caniglia about
seizing the guns — the Caniglia’s say that the police told Mrs. Caniglia that her
husband approved the seizure and that if Mr. Caniglia went to the hospital for an
evaluation, they would not take the guns - but that dispute is not material because
ultimately, they took the guns. ECF No. 59 at {[{] 85-86.

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Td. at { 40. The parties dispute the assertion that Mrs, Caniglia wanted the guns
removed, but it is undisputed that she pointed out where the guns were and allowed
the officers to remove them. ECF No. 59 at qq] 118-114.

A few days later, Mrs. Caniglia went to the Cranston Police Department to
retrieve her husband’s guns. Jd. at | 122. After being informed that she needed a
copy of the police report and such a request required a captain’s approval, she
complied and waited only to be told a few days later that her request was denied, and
she needed to get a court order. fd. at |] 122-123. A month later, Mr. Caniglia tried
to get his guns back from Cranston Police and they told him that they were not going
to release them. Jd. at § 125. Mr. Caniglia’s attorney sent a letter to Chief Michael
Winquist requesting that the police return the guns to no avail. /d. at | 126. After
filing this lawsuit, the police gave Mr. Caniglia his guns back without a cowt order.
Td. at Yj 133-134. Cranston Police did not prevent Mr. Caniglia from buying or
possessing any new guns during this time period. ECF No. 55 at { 46.

Il. STANDARD OF REVIEW

When ruling on a motion for summary judgment, the court must look to the
record and view all the facts and inferences therefrom in the light most favorable to
the nonmoving party. Continental Cas. Co. v, Canadian Univ. Ins. Co., 924 F.2d 370,
373 (1st Cir. 1991). Once this is done, Rule 56(c) requires that summary Judgment
be granted if there is no issue as to any material fact and the moving party is entitled

to judgment as a matter oflaw. A material fact is one affecting the lawsuit’s outcome.

 
URI Cogeneration Partners, LP. v. Board of Governors for Higher Education, 915 F.
Supp. 1267, 1279 (D.R.1. 1996).

The analysis required for cross‘motions for summary judgment is the same.
Scottsdale Ins. Co. v. Torres, 561 F.3d 74, 77 (1st Cir. 2009) (“The presence of cross"
motions neither dilutes nor distorts this standard of review”). In evaluating cross-
motions, the court must determine whether either party is entitled to judgment as a
matter of law based on the undisputed facts. Jd.

Ili. ANALYSIS

The Court will begin by discussing the motions on Mr. Caniglha’s federal
claims. The Court will first discuss Count Ul, which alleges that the City unlawfully
seized him and his guns in violation of the Fourth Amendment, then Count I, which
alleges that the City violated Mr. Caniglia’s rights under the Second Amendment by
taking his guns, and then Count IV which is a claim that the City violated due process
by failing to afford him any process for the return of his guns. The Court will also
address the City’s asserted immunity and defenses. Finally, the Court will turn to
Mr. Caniglia’s claims under Rhode Island common and statutory law, Counts I, VI,
and VIT.

A. Count III — Fourth Amendment

Both Mr. Caniglia and the City have moved for summary judgment on his
Fourth Amendment search and seizure claim. In this claim, Mr. Caniglia alleges that
the City violated his Fourth Amendment right to be free from unreasonable searches

and seizures by taking his guns from his home without a warrant and requiring him

 
to submit to a mental health evaluation. ECF No, 51 at { 78. The City argues that
it is entitled to summary judgment because the officers’ behavior was reasonable and
consistent with its duty to protect the public. The Court will first look at the relevant
Fourth Amendment law as well as the parameters of the community caretaking
function and qualified immunity defenses that the City invokes.
1. Fourth Amendment Law

Generally, Fourth Amendment jurisprudence talks about searches and
seizures in terms of arrests, investigatory stops, or inventory searches. Morelli v.
Webster, 552 F.3d 12, 19 (st Cir. 9009) (“A detention at the hands of a police officer
constitutes a seizure of the detainee’s person and, thus, must be adequately justified
under the Fourth Amendment.”); United States v. Coccia, 446 F.3d 238, 237-38 (ist
Cir. 2006) “[A] law enforcement officer may only seize property pursuant to a
warrant based on probable cause describing the place to be searched and the property
to be seized.”). But here, the City argues that its police officers did not violate
Mr. Caniglia’s constitutional rights because they neither stopped nor arrested him
for law enforcement purposes, but detained him and seized his guns in furtherance
of their duties under the community caretaking function. The City moves for
summary judgment on this defense and also on qualified immunity. Mr. Caniglia
argues that he is entitled to summary judgment because it is undisputed that his
Fourth Amendment rights were violated and that this exception does not apply here
because it has only been sanctioned as an exception in cases involving seizures and

searches of vehicles, not homes.

 
2. Community Caretaking Function

“The Supreme Court recognized several decades ago that ‘[l]ocal police officers,
unlike federal officers, frequently ... engage in what, for want of a better term, may
be described as community caretaking functions.” United States v. Gemma, 818 ¥.3d
23, 32 (1st Cir, 2016) (quoting Cady v. Dombrowski, 413 U.S. 4383, 441 (1973)). “Apart
from investigating crime, police are ‘expected to aid those in distress, combat actual
hazards, prevent potential hazards from materializing and provide an infinite variety
of services to preserve and protect public safety.”3 Gemma, 818 F.3d at 32 (quoting
United States v. Rodriguez—Morales, 929 F.2d 780, 784-85 (ist Cir. 1991); Cady, 418

US. at 441 (The community caretaking function is “totally divorced from the

 

3 Mr. Caniglia correctly points out that courts are split about whether the
community caretaking function standard the United States Supreme Court first set
forth in Cady in the vehicle context also applies to searches of a home. See, eg., hay
v. Twp. of Warren, 626 F.3d 170, 177 (3d Cir, 2010); United States v. Bute, 43 F.3d
531, 535 (10th Cir. 1994); United States v. Erickson, 991 F.2d 529, 532 (9th Cir. 1993);
United States v. Pichany, 687 F.2d 204, 207-09 (7th Cir. 1982); Hawkins v. United
States, 118 A.3d 216, 222 (D.C. 2015). The Fifth and Eighth Circuits have applied the
community caretaking function to warrantless searches of the home, see United
States v. York, 895 F.2d 1026, 1029 (5th Cir. 1990); United States v. Quezada, 448
F.3d 1005, 1007-08 (8th Cir. 2006). The Sixth Circuit has rued both ways. Compare
United States v. Rohrig, 98 F.3d 1506, 1521-25 (6th Cir. 1996), with Goodwin v. City
of Painesville, 781 ¥.3d 314, 331 (6th Cir. 2015) and United States v. Wilhams, 354
F.3d 497, 508—09 (6th Cir. 2003). The First Circuit has not had oceasion to rule either
way on this question. MacDonald v. Town of Eastham, 745 F.3d 8, 13-14 (st Cir.
9014). But given the court’s recognition of the validity of police caretakers who
“combat actual hazards, prevent potential hazards from materializing and provide an
infinite variety of services to preserve and protect public safety[,]” Gemma, 818 F.3d
at 32 (quoting Rodriguez—Morales, 929 F.2d at 784-85), and the reality that these
services could be required not only in vehicles, but also in homes as well, it appears
that the community caretaking defense could be applied in a home, depending on the
facts of each individual case.

 
detection, investigation, or acquisition of evidence relating to the violation of a
criminal statute.”).

“The community caretaking doctrine gives officers a great deal of flexibility in
how they carry out their community caretaking function.” Lockhart-Bembery Vv.
Sauro, 498 F.3d 69, 75 (st Cir. 2007) (citing Rodriguez—Morales, 929 ¥.2d at 785).
As long as police are not investigating a crime, the Fourth Amendment imperatives
stay intact, “so long as the procedure involved and its implementation are
reasonable.” /d “Reasonableness does not depend on any particular factor: the court
must take into account the various facts of the case at hand.” Lockhart-Bembery, 498
F.3d at 75. Courts “must balance ‘its intrusion’ on fan individual’s] substantial liberty
interests in remaining in [his] home, against the defendants legitimate governmental
interests’ in minimizing the risk of harm to [an individual], the family members, and
themselves” while performing their community functions. state of Bennett v.
Wainwright, 548 F.3d 155, 172 (1st Cir. 2008) (citing Skinner v. Ry. Labor Executives’
Ass’n, 489 U.S. 602, 619 (1989).

The Court will first address whether there was a seizure of a person.
Mr. Caniglia argues that it was unreasonable for the City to require him to go to the
hospital for a mental health check. But “not all personal intercourse between
policemen and citizens involves ‘seizures’ of persons. Only when the officer, by means
of physical force or show of authority, has in some way restrained the liberty of a
citizen may we conclude that a ‘seizure’ has occurred.” Terry v. Ohro, 392 U.S. 1, 19

n, 16 (1968); see also United States v. Smith, 423 F.3d 25, 28 (ist Cir, 2005) (“In order

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to find a seizure, ... we must be able to conclude that coercion, not voluntary
compliance, most accurately describes the encounter.”); see also Lockhart -Bembery,
A498 F.3d at 75-76. The officey’s insistence, even if viewed as an order, was not a
seizure because Mr. Caniglia voluntarily left in the Cranston rescue.

But even if sending him to the hospital was a seizure, “a seizure does not
violate the Fourth Amendment unless it is unreasonable under the circumstances.”
Estate of Bennett, 648 F.3d at 172 (citing Skinner, 489 U.S. at 619}; Ahern v.
O'Donnell, 109 F.3d 809, 816 (ist Cir. 1997). Here, the Court finds that a jury could
not find that any of the individual officers’ conduct in sending Mr. Caniglia for a
mental health evaluation was unreasonable. Their response to the Canigha home
was not part of a criminal investigation and had no law enforcement investigatory
purpose. Officers responded to a call from Mr. Caniglia’s wife who was concerned
about hig mental and emotional well-being. Officer Mastxati believed Mr. Canighia
was a danger to himself. ECF No. 55 at 7 387. Sargent Barth considered
Mr. Caniglia’s statement to his wife to be a suicidal statement. ECF No. 55 at { 38.
Looking at the record as a whole, the officers had a legitimate safety concern for the
Caniglia’s at the time. Lockhart-Bembery, 498 F.3d at 76. There can be no dispute
that sending Mr. Caniglia to talk toa mental health professional is a quintessential
community caretaking function and was reasonable under these circumstances.

Regarding the seizure of the guns, there is no dispute that the officers knew
the guns were legally possessed and did not suspect that they would uncover evidence

of a crime so were acting solely in their roles as community caretakers. But

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Mr, Caniglia argues that the officers’ response in removing his guns was not
reasonable because they knew he was not suicidal, Mrs. Caniglia knew he was not
suicidal, the gun was not loaded when he brought it out during the argument, and
most of the events that prompted their well-being check happened the day before so
there was no emergency or reason remove the guns from the home.

The City argues that the officers’ actions that day were reasonable based on
their belief that the Caniglia’s were in crisis. Mrs. Caniglia called police and told
them about the previous days’ argument that devolved into Mr. Caniglia putting a
eun on the table and making a suicidal comment, that Mr. Caniglia was depressed,
and that she was afraid and worried about her husband. Captain Henry believed
that if the officers left Mr. Caniglia at his home with the guns, he, his wife, and their
neighbors could potentially be in danger. ECF No. 55 at {| 42. The Court finds that
the officers’ conduct was reasonable under these circumstances. Could they have left
the guns in the home pending Mr. Caniglia’s clearance from Kent Hospital? Perhaps,
but, “[t]here is no requirement that officers must select the least intrusive means of
fulfilling community caretaking responsibilities.” Lockhart-Bembery, 498 F.3d at 76
(citing Colorado v. Bertine, 479 U.S. 367, 373-74 (1987); Rodriguez—Morales, 929
F.2d at 786). Thus, the Court finds that the undisputed record supports its conclusion
that the City and its officers were authorized by the community caretaking function
to send Mr. Caniglia to Kent Hospital for a mental health evaluation and to seize his

guns. The City’s conduct did not violate Mr. Caniglia’s rights under the Fourth

Amendment.

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Even if the Court were to find that the City were “mistaken in their judgment”
and violated Mr. Caniglia’s rights under the Fourth Amendment, the City argues that
qualified immunity protects it from liability. state of Bennett, 548 F.3d at 172.
Civen these facts, the Court agrees. T he Court will briefly review the legal standard
for qualified immunity as it relates to Fourth Amendment analysis.

3. Qualified Immunity

“Qualified immunity? protects an officer from suit when a reasonable decision
in the line of duty ends up being a bad guess—in other words, it shields from liability
‘all but the plainly incompetent or those who knowingly violate the law.” Belsito
Commerns, Inc. v. Decker, 845 F.3d 18, 22-24 (1st Cir. 2016) (quoting Ashcroft v. al-
Kidd, 563 U.S. 731, 748 (2011); see also Morelli v. Webster, 552 F.3d 12, 19 (st Cir.
2009). A two-step inquiry requires the court to ask “(1) whether the facts alleged or
shown by the Plaintiff make out a violation of a constitutional right: and (2) if so,
whether the right was ‘clearly established’ at the time of the defendant’s alleged
violation.” Maldonado v. Fontanes, 568 F.3d 263, 269 (1st Cir. 2009) (quoting Pearson
v. Callahan, 555 U.S, 223, 243 (2009)). The second step has two prongs: a law is
clearly established depending on (1) “the clarity of the law at the time of the alleged
civil rights violation” and (2) “whether a reasonable defendant would have understood

that his conduct violated the plaintiffs’ constitutional rights.” /d@ The Court therefore

 

4 An officer who is entitled to qualified immunity under federal law is similarly
ammune from suit for the state-law equivalent of that claim under Rhode Island law.
Estrada v. Rhode Island, 594 F.3d 56, 63 (st Cir. 2010) (citing Hatch v. Town of
MiddIctown, 311 F.3d 83, 89-90 (1st Cir. 2002)).

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must inquire “whether, at the time of the intrusion, Fourth Amendment
jurisprudence signaled to the individual defendants in this case that their conduct
overstepped constitutional boundaries.” MacDonald v. Town of Hastham, 745 F.3d 8,
12 (ist Cir. 2014).

When the First Circuit has considered whether the community caretaking
function applies to searches and seizures in homes as well as cars, it observed that
“the reach of the community caretaking doctrine 1s poorly defined outside of the motor
vehicle milieu,” that it “has not decided whether the community caretaking exception
applies to police activities involving a person’s home,” and that the case law reveals
that the scope and boundaries of the community caretaking exception are nebulous.”
Td. at 13-14. The First Circuit concluded that “neither the general dimensions of the
community caretaking exception nor the case law addressing the application of that
exception provides the sort of red flag that would have semaphored to reasonable
police officers that their entry into the plaintiffs home was legal.” Jd. at 15.

Because of this ambiguity, the Court finds that it is not clearly established that
the community caretaking exception does not apply to police activity in the home
intended to preserve and protect the public, Genima, 818 F.3d at 32. Sending
Mr. Caniglia for a voluntary well-being check and taking his guns for his and his
family’s safety were reasonable exercises of the officers’ mandate. The City did not
force My. Caniglia to go to the hospital and Mrs. Caniglia told police her husband had
guns and allowed them to enter the home to take them. Nothing about those facts

would have led police to believe they were violating Mr. Caniglia’s clearly established

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constitutional rights. The Court thus defers to the officers’ reasonable decisions made
in the line of duty and concludes that qualified immunity applies to bar this claim
against the City.

The Court GRANTS the City’s Motion for Summary Judgment (ECF No. 45)
and DENIES Mr. Caniglia’s Motion for Summary Judgment (ECF No. 43) as to Count

IT.

B. Count II — Second Amendment of the United States and Rhode Island
Constitutions

Mr. Caniglia’s Second Amendment claim alleges that the City, through “a set
of customs, practices, and policies,” deprived him of his lawfully obtained and
possessed weapons for no reason. ECF No. 51 at {| 73°74. The policy at issue is that
the City will take an individual’s weapons for safekeeping without a warrant if they
believe that person may be a threat to himself or others. fd. at {| 27.

The United States Supreme Court announced in D.C. v. Heller that an
individual has a right to possess firearms in his or her home for protection, but noted
that “[Llike most rights, the right secured by the Second Amendment is not unlimited”
and thus does not protect “a right to keep and carry any weapon whatsoever in any
manner whatsoever and for whatever purpose” or “for any sort of confrontation.” 554
U.S. at 595, 626 (2008) (emphasis omitted); see also Worman v. Healey, 922 F.8d 26,
34 (1st Cir. 2019).

Keeping this limitation in mind, the Court must consider whether the City’s
justification for taking Mr. Caniglia’s guns comes within the scope of the Second

Amendment’s protection of the right to bear arms. If it does not, the inquiry ends.

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“The issue is a sensitive one, as it implicates not only the individual's right to possess
a firearm, but the ability of the police to take appropriate action when they are
confronted with a firearm that may or may not be lawfully possessed, and which,
irrespective of the owner’s right to possess the firearm, may pose a danger to the
owner or others.” Suéterfield v. City of Milwaukee, 751 F.3d 542, 572 (7th Cir. 2014).

Here, the Court finds that the City’s policy of removing the guns from a home
where an individual threatened suicide does not affect Mr. Caniglia’s Second
Amendment right to possess a gun. Just as the Second Amendment is not implicated
when the police seize a firearm during an arrest, or at a crime scene, the Second
Amendment is not implicated when the police reasonably seize a gun under their
well-established dutics as community caretakers. Moreover, it also is undisputed
that the City eventually returned Mr, Caniglia’s guns to him and that the City did
not prevent Mr. Caniglia from buying or possessing any guns the incident in his
home. ECF No. 55 at {{] 46°48. The Court has found under similar facts that the
Second Amendment does not protect an individual’s right to possess a particular gun.
Richer v. Parmelee, 189 F. Supp. 3d 334, 343 (D.R.1. 2016) (Richer J. The parties
have presented no new case law or argument that persuades it otherwise.

The City’s Motion for Summary Judgment (ECF No. 45) on Count IL is
GRANTED.

C. Count IV — Fourteenth Amendment Due Process

Mr. Caniglia moves for swmmary judgment on his due process claim — the

Court granted a similar motion for the plaintiffin Aicher £ Mr. Caniglia alleges that

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the City violated his due process rights when it seized his guns with no policy, custom,
or procedure-with no process—for returning them. The City refused to return
Mr. Caniglia’s property for four months and only did so after Mr. Caniglia repeatedly
asked, had his lawyer send a letter, and ultimately sued.

The Fourteenth Amendment forbids the City from depriving “any person of
life, liberty, or property, without due process of law.” “In evaluating a procedural
due process claim under the Fourteenth Amendment, we must determine ‘whether
[the plaintiff] was deprived of a protected interest, and, if so, what process was his
due.” Garcia-Gonzalez v. Piug-Morales, 761 F.3d 81, 88 (1st Cir, 2014) (citing Logan
v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982)). The City held Mr. Caniglia’s
property for four months, which qualifies as a deprivation of his property right. See
Fuentes v, Shevin, 407 U.S. 67, 85 (1972) (“a temporary, nonfinal deprivation of
property is nonetheless a ‘deprivation’ in the terms of the Fourteenth Amendment.”).

The Court’s analysis of this claim in the Richer Icase is instructive here. The
Court focused on the process due and remarked that due process “is flexible and calls
for such procedural protections as the particular situation demands.” #icher f, 189
F. Supp. 3d 339 (quoting Morissey v. Brewer, 408 U.S. 471, 481 (1972). Relying on
the Mathews v. Eldridge test, this Court noted the three relevant factors in
determining what procedural protections are due:

First, the private interest that will be affected by the official action;

second, the risk of an erroneous deprivation of such interest through the
procedures used, and the probable value, if any, of additional or

 

5 This constitutional right is actionable against state and municipal officials
through 42 U.S.C. § 1983.

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substitute procedural safeguards; and finally, the Government's

interest, including the function involved and the fiscal and

administrative burdens that the additional or substitute procedural

requirement would entail.
Richer I, 189 F. Supp. 3d at 339 (quoting Mathews v. Eldridge, 424 U.S. 319, 336
(1976). Analyzing the first factor, the Court held that the private interest in the “use
and possession of property” ingrained in the Fourteenth Amendment trilogy “reflects
the high value, embedded in our constitutional and political history, that we place on
a person's right to enjoy what is his, free of government interference.” Richer /, 189
F. Supp. 3d at 339 (quoting /wentes, 407 U.S. at 81). The Court concluded based on
Fuentes that “absent extenuating circumstances, due process requires a baseline of
notice and an opportunity to be heard when chattels are to be confiscated.” Richer f,
189 F. Supp. 3d at 340 (quoting /uenées, 407 U.S. at 96).

First, the Court finds that Mr. Caniglia had a private interest in his personal
property. Second, it is undisputed that the City took his personal property, did not
afford him any notice of how to get his property back, and arbitrarily denied his
yequests for its return. Once in litigation, the City argues that the process
Mr. Caniglia should have taken advantage of was to file a state court action under
R.1. Gen. Laws § 12°5-7 to recover his property. But the burden on Mr. Caniglia to
pay filing and service fees, to hire a lawyer, and wait for Justice to ensue is too much
of a barrier to his constitutional right to enjoy his property, “free from government
snterference.” Richer I 189 F. Supp. 3d at 339 (quoting Fuentes, 407 U.S. at 81).

Finally, the Court considers the City’s interest, articulated here as the

traditional community caretaking function of protecting the health and safety of the

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public. The Court acknowledges that the City’s officers were in a sensitive situation
and acted within reason, trusting their law enforcement instincts to protect the
Caniglia’s by removing guns from a once volatile domestic situation that could again
escalate once the police left. That said, once Mr. Caniglia left the hospital after being
cleared by a doctor, a nurse, and a social worker, returned home to his wife, that
exigency disappeared and without a reignition of that fight or evidence of domestic
instability, the Court finds that Mr. Caniglia’s interest in retaining his property
outweighed the City’s interest in keeping his guns away from him. Richer J 189 F.
Supp. 3d at 340; Razzano v. Cty. of Nassau, 165 F, Supp. 2d 176, 189 (E.D.N.Y 2011)
(“once a person whose [guns} are taken has the opportunity to legally obtain and
possess new [guns], the retention of that individual’s old [guns] does not greatly
protect the public from potential harm.”). Because Mr. Caniglia has shown there is
undisputed evidence that the City denied him due process, the Court GRANTS

Myr, Caniglia’s Motion for Summary Judgment (ECF No. 45) on Count FV.¢

 

6 Ona side note, the Court feels compelled to address Mr. Caniglia’s argument
that the City’s officers took the guns solely to cover all their bases so that they would
not be subject to liability or public censure for leaving the guns in the home. While
the Court finds that the facts and law justify the City’s actions, his perceptions as a
citizen provides all the more reason for the City to develop “a clear procedure ... about
how to review and resolve the seizure and retention of guns.” Aycher, 189 F. Supp.
3d at 340. “Appropriate procedures initiated or noticed by the [City] would have
eliminated the risk of such a lengthy deprivation without [plaintiff] having a
meaningful opportunity to contest it.” Id. The lack of any procedure violates notions

of due process.
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D. Count V — Equal Protection

The City moves for summary judgment on Mr. Caniglia’s Equal Protection
claim. In that claim, he alleges that he is entitled to injunctive relief against the
City’s policies, customs, and practices, which deprived him of his legal guns in
violation of the Fourteenth Amendment. Because Mr. Canigha fails in both his
pleading and his presentation of any disputed material facts, his equal protection
claim cannot survive.

“The equal protection guarantee of the Fourteenth Amendment prohibits the
state from ‘denyling] any person within its jurisdiction the equal protection of the
laws.” Pagan v, Calderon, 448 F.3d 16, 34 (1st Cir. 2006) (quoting U.S. Const. Amend.
XIV, § 1). Equal protection has been interpreted to mean that “all persons similarly
situated should be treated alike.” C7ty of Cleburne v. Cleburne Living Ctr., Inc. 473
U.S. 432, 439 (1985). “Plaintiffs claiming an equal protection violation must. first
identify and relate specific instances where persons situated similarly tn all relevant
aspects were treated differently.” Buchanan v. Maine, 469 F.8d 158, 178 (1st Cir.
9006) (emphasis in original) (internal quotation mark omitted). “Thus, the proponent
of the equal protection violation must show that the parties with whom he seeks to
be compared have engaged in the same activity vis-A-vis the government entity
without such distinguishing or mitigating circumstances as would render the
comparison inutile.” Cordi-Allen v. Conlon, 494 F.3d 245, 251 (1st Cir. 2007) (citing

Perkins v. Brigham & Women’s Hosp., 718 F.3d 747, 751 (st Cir. 1996)).

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Looking through the entire record, from the complaint through the summary
judgment evidence, Mr. Caniglia does not point to any other individual similarly
situated who was treated differently. He speculates that other gun owners could fall
victim to the City’s unconstitutional gun seizure policies and procedures, but fails to
cite any specific cases. At this stage of the case, Mr. Caniglia’s equal protection claim
allegations are not enough to survive summary judgment. The Court GRANTS the
City’s Motion for Summary Judgment (ECF No. 45) on Count V.

Now the Court will discuss the motions made on Mr. Caniglia’s state law
claims.

E. Count I — Rhode Island Firearms Act

The City moves for summary judgment on Mr. Caniglia’s claim under the
Rhode Island Firearms Act (“RITA”), RI. Gen. Laws § 11-47-22(b). Mr. Caniglia
alleges that the RIFA limits the circumstances under which police can prevent
individuals from possessing guns and the City’s conduct violated the statute. To
determine the exact violative conduct, the Court finds itself taking a circuitous route.
He argues that the City took his guns under R.I. Gen. Laws § 11-47-6, which limits
those “under guardianship or treatment or confinement by virtue of being a mental
incompetent” from possessing a gun. He then argues that the City had no basis for
taking his guns under this section, but also asserts that the City should have returned
his guns under § 11-47-22(b) because the guns were not evidence of a civil or criminal

matter. The City denies that it violated the RIFA when it took his guns.

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The RIFA provides no further relief because the City returned Mr. Caniglia’s
guns to him. Archer £ 189 F. Supp. 8d at 343 (finding that the RIFA “only
contemplates injunctive relief, and not damages.”) In the face of this truth,
Mr. Caniglia argues that he is entitled to relief under R.I. Gen. Laws § 9-1-2 which
“provides civil liability for criminal offenses” and a “plaintiff may recover civil
damages for injury ... that results from the commission of a crime or offense,
irrespective of whether charges have been filed against the offender.” Aforabit v.
Hoag, 80 A.3d 1, 4 (R.I. 2013). My. Caniglia asserts that “Defendants’ unwritten
policy of requiring persons whose guns they have seized to obtain an order in state
court before they return them” is a criminal act. ECF No. 51 at { 69. The assertion
is not supported by the facts in this case though because it is undisputed that the
City returned Mr. Caniglia’s guns without a state court order, The City did not
violate the RIFA so he is not entitled to money damages under § 9-1-2.7

The Court therefore GRANTS the City’s Motion for Summary Judgment (HCF
No. 45) on Count I.

F. Count VI — Rhode Island Mental Health Law

Mr, Caniglia alleges that the Rhode Island Mental Health Law (‘RIMHIL’)

provides the processes through which state actors can require an individual to submit

 

7 Even if there were a violation of the RIFA, “[tlhe plain language of the statute
(] requires a causal connection between the alleged crime and the claimed injury.”
Kelly v. Marcantonio, 187 F.3d 192, 203 n.8 (1st Cir. 1999). Mr. Caniglia has failed
to allege or produce evidence of a causal connection between the crime and his injury
— presumably because he has his property back and he has no evidence of current
injury.

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to care for mental health issues; specifically, he argues that the statute dictates that
before the state moves forward with having an individual admitted or certified to a
medical or mental health facility, it must obtain a certification from a doctor that the
individual needs immediate care. Because the City failed to get the certification and
conspired to have him admitted to Kent Hospital for a mental health evaluation,
Mr. Caniglia alleges that it violated the RIMHL.

Both parties move for summary judgment. The City argues it is entitled to
dismissal because first, the RIMHL does not provide for a private right of action, and
second, there is no evidence that the City attempted and/or conspired to have
Mr. Caniglia admitted to Kent Hospital so no doctor certification was required.
Mr. Caniglia concedes the first point but argues again that he has a cause of action
for damages under RI. Gen. Laws § 9-1-2. He also argues that that the City’s
agreement to send him to the hospital for a psychological evaluation is undisputed
evidence of a conspiracy and it is irrelevant that he was not admitted.

Even if there is a private right of action, the scheme legislated in the RIMHL
is not a fit here. The purpose of the RIMHL is “remedial. It was designed to establish
a due-process framework for the commitment of mentally ill persons and for their
periodic reevaluation.” Jn re Doe, 440 A.2d 712, 716 (R.I. 1982). It is undisputed that
the City did not seek emergency certification for Mr. Caniglia to a medical or mental
health facility, but there is also no evidence in the summary judgment record that

the City intended to or conspired to admit or commit Mr. Caniglia to Kent Hospital.

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Moreover, the Court imagines that it is not unusual for police to send an
individual to the hospital for an evaluation after being summoned by a family
member to check on his or her well-being. The officers asked Mr. Caniglia to go with
Cranston rescue to get checked out at Kent Hospital and he agreed to go. ECF No.
65 at | 70. He was there for a brief time and then released by medical staff. There
is no evidence that police officers had any contact with hospital staff during or after
the evaluation to attempt or ensure his admission. Because the City has not violated
the RIMHL, there is no crime so § 9-1-2 does not provide Mr. Caniglia any relief.

The Court GRANTS the City’s Motion for Summary Judgment (ECF No. 45)
and DENIES Mr. Caniglia’s Motion for Summary Judgment (ECF No. 43) on Count
Vi.

G. Count VII — Conversion

Both parties move for summary judgment on Mr. Caniglia’s common law claim
for conversion. In his complaint, he alleges that the City seized his guns without his
permission, without legal justification, and retained them for several months despite
his repeated requests that they be returned. The City objects and argues that the
claim should be dismissed because the City’s actions do not legally qualify as a
conversion.

In an action for conversion, the Court focuses its inquiry on “whether the
defendant has appropriated to his own use the chattel of another without the latter’s
permission and without legal right.” Yemen v. Joseph, 73 RI. 112, 53 A.2d 9238, 925

(1947). “This intentional exercise of control over the plaintiffs chattel must ‘so

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seriously interfere[] with the right of another to control it that the [defendant] may

justly be required to pay the other the full value of the chattel.” Narragansett Elec.

Co. v. Carbone, 898 A.2d 87, 97 (R.I. 2006) (quoting Restatement (Second) Torts

§ 222(A)(1) at 431 (1965)). Essentially, a conversion forces a defendant to purchase

the property by judicial sale. Prosser and Keeton on Torts § 15 at 90 (5th ed. 1984).
To determine if a defendant has converted property, the Court should consider
(a) [T]he extent and duration of the actor’s exercise of dominion or

control;
(b) the actor’s intent to assert a right in fact inconsistent with the

other’s right of control;
(c) the actor’s good faith;
(d) the extent and duration of the resulting interference with the
other’s right of control;
(e) the harm done to the chattel;
(f) the inconvenience and expense caused to the other.
Restatement (Second) of Torts § 222A(2) (1965). While the City kept Mr. Caniglia’s
property after a few months, there is no evidence that the City intended to assert any
kind of ownership over the property; it removed the guns from the Caniglia home in
its reasonable belief that it was in the interest of public safety, and there is no
evidence that the property was damaged in any way. And while the City’s resistance
to returning the guns inconvenienced Mr. Caniglia, this sole factor does not convince
the Court that the City intended to convert his property.
The Court GRANTS the City’s Motion for Summary Judgment (ECF No. 45)
and DENIES Mr. Caniglia’s Motion for Summary Judgment (ECF No, 43) on Count

VIL.

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IV. CONCLUSION

Well-being checks are an important part of the work of law enforcement, often
putting officers in a position to invade the privacy of an individual’s home to protect
the health and safety of those inside and of the community as a whole. Officers must
strike a balance, however, between responding to a crisis and respecting the inviolate
rights of community members. Here, the Court determined from the undisputed
material facts that the City operated within its duties to care for the community
during the well-being check on Mr. Caniglia and his family. The arm of the law,
however, can only go so far into the zone of privacy guaranteed by the United States
Constitution. The City infringed on Mr. Caniglia’s rights when it refused to return
his property and failed to provide him with any process of how to get it back after his
health and safety were secured.

Therefore, the Court GRANTS the City’s Motion for Summary Judgment (ECF
No. 45) as to Counts I, II, III, V, VI, and VII. The Court GRANTS Mr. Caniglia’s
Motion for Summary Judgment (ECF No. 43) as to Count IV and DENIES it as to

Counts ITI, VI, and VII,

John J. McConnell, Jr.
United States District Judge

 

June 4, 2019

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